       EXHIBIT 17




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Law Codes:
AC     Administrative Code                 CPL      Criminal Procedure Law            LOC Local Law                 RP    Real Property Law
ABC    Alcoholic Beverage Control Law      ECL      Environmental Conservation Law    MD Multiple Dwelling Law      RR    Railroad Law
BL     Banking Law                         GB       General Business Law              MHY Mental Hygiene Law        SW    Social Services Law
CON    Conservation Law                    GML      General Municipal Law             PHL Public Health Law         TL    Transportation Law
COR    Correction Law                      LAB      Labor Law                         PL Penal Law                  VTL   Vehicle and Traffic Law


Charge Nomenclature:
Example: PL 220.03.00 AM
PL (Penal Law) = NYS Law         220.03 = Section     00 = Subsection   AM = Severity 'A' Misdemeanor

Charge Severity:
I = Infraction   V = Violation    M = Misdemeanor       F = Felony

Court Control Number:
This is preprinted on the NYS Fingerprint Card and used to match court dispositions to the arrest. This arrest specific numeric identifier can be used
for contacting courts for case information when a docket (lower court) or case number (Supreme/County Court) is not available (e.g. case data
reflects lower court dispositions as Grand Jury, Indicted, or Supreme Court Transfer but no related case number.)



Case Supplement Data:
Occasionally, current case disposition data cannot be displayed in the usual manner. We have provided this additional information under the heading
of 'Case Supplement Data.' This information may not be complete and you should contact the court for complete case disposition.

UNDER NEW YORK STATE LAW VIOLATIONS AND INFRACTIONS ARE NOT CRIMES.

SEARCH RESULTS ARE BASED ON FINDING AN EXACT MATCH OF THE NAME AND DATE OF BIRTH SUBMITTED.

NYS TOWN AND VILLAGE COURT DISPOSITION DATA IS NOT AVAILABLE FOR THE PERIOD MAY 1991 THROUGH 2002. AS OF MAY 2007,
ALL TOWN AND VILLAGE COURTS REPORT TO OCA.

DISCLAIMER: THIS RESPONSE IS BASED ON INFORMATION SUPPLIED BY THE CUSTOMER. ALL ENTRIES ARE AS COMPLETE AND
ACCURATE AS THE DATA FURNISHED TO THE OFFICE OF COURT ADMINISTRATION BY THE NYS COURT OF CRIMINAL JURISDICTION.




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